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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

   CORINE MANUEL,

             Plaintiff,

   v.                                                   CASE NO.: 6:19-cv-346-RBD-LRH

   SANTANDER CONSUMER USA INC.,
   d/b/a CHRYSLER CAPITAL LLC,

             Defendant.
                                                   /

                 JOINT MOTION TO ARBITRATE AND MEMORANDUM OF LAW

             Plaintiff, Corine Manuel ("Plaintiff"), and Defendant, Santander Consumer USA Inc.

   d/b/a Chrysler Capital LLC ("Defendant") (collectively the "Parties"), by and through their

   undersigned counsel, jointly move to arbitrate this matter and stay this case pending the

   outcome of the arbitration, and state as follows:

             1.      Plaintiff commenced this action by filing a complaint against Defendant on or

   about February 21, 2019. [See Doc. 1, Complaint.] Plaintiff has alleged that Defendant

   violated the Telephone Consumer Protection Act ("TCPA") and the Florida Consumer

   Collection Practices Act ("FCCPA").

             2.      Plaintiff's claims are based on allegations that Defendant attempted to collect

   a debt related to automobile financing provided by Defendant to Plaintiff. Among the

   financing origination documents is a Vehicle Sentry Protection Agreement (“Agreement”). A

   true and correct copy of the Agreement is attached as Exhibit A.




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             3.       The Agreement contains an Arbitration Provision, pursuant to which the

   Parties agreed to arbitrate disputes between them under the rules of the American Arbitration

   Association.

             4.       In light of this agreement, the Parties seek to arbitrate all of their claims

   against one another in this matter.

             5.       The Parties therefore respectfully request that this Court enter the Agreed

   Order attached hereto as Exhibit “A,” which orders that all of the claims in this lawsuit be

   submitted to final, binding arbitration and that this lawsuit be stayed pending the outcome of

   the arbitration.

                                      MEMORANDUM OF LAW

             The Agreement is governed by the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1, et

   seq. Under federal law, this Court must allow the Parties to arbitrate their claims and should

   stay this litigation, including all discovery, pending resolution in arbitration.

             A. The FAA Applies to and Governs the Arbitration Provision.

             Through the FAA, Congress “mandated the enforcement of Arbitration Clauses.”

   Southland Corp. v, Keating, 465 U.S. 1, 10 (1984). Section 2 of the FAA, the primary

   substantive provision of the Act, provides that binding arbitration provisions “evidencing a

   transaction involving commerce . . . shall be valid, irrevocable, and enforceable, save upon

   such grounds as exist at law or in equity for the revocation of the contract.” 9 U.S.C. § 2; see

   also AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 131 S. Ct. 1741, 1745 (2011)

   (quoting Moses H. Cone Mem‘1 Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)).




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             The United States Supreme Court has described Section 2 of the FAA as reflecting

   both a “liberal federal policy favoring arbitration,” Concepcion, 131 S. Ct. at 1745, and the

   “fundamental principle that arbitration is a matter of contract.” Rent-A-Ctr., W., Inc. v.

   Jackson, 561 U.S. 63, 130 S. Ct. 2772, 2776 (2010). Thus, Arbitration Provisions, like other

   contracts, are enforceable in accordance with their terms. Concepcion, 131 S. Ct. at 1745-46.

             Under the FAA, “parties [to an Arbitration Provision] are generally free to structure

   their Arbitration Provisions as they see fit,” and may “specify by contract the rules under

   which that arbitration will be conducted.” Volt Info. Scis., Inc. v. Bd. of Trs. of Leland

   Stanford Jr. Univ., 489 U.S. 468, 479 (1989).

             Thus, in accordance with the express provisions of the Arbitration Provision, the FAA

   applies to and governs this matter.

             B. The Arbitration Provision Must Be Enforced Under the FAA.

             The purpose of the FAA is “‘to assure those who desired arbitration and whose

   contracts related to interstate commerce that their expectations would not be undermined by

   federal judges, or . . . by state courts or legislatures.’” Southland Corp., 465 U.S. at 13

   (citation omitted). Congress passed the FAA “to reverse the longstanding judicial hostility to

   Arbitration Clauses . . . and to place Arbitration Clauses on the same footing as other

   contracts . . . .” Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 89 (2000) (quoting

   Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991)). Accordingly, under the

   FAA, written agreements to arbitrate controversies arising out of an existing contract are

   “valid, irrevocable and enforceable.” 9 U.S.C. § 2.




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             Arbitration is highly favored for its “simplicity, informality, and expedition.”

   Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628 (1985); see

   also Concepcion, 131 S. Ct. at 1749 (touting arbitration’s “streamlined proceedings and

   expeditious results”).

             The FAA provides that “[a] party aggrieved by the alleged failure, neglect, or refusal

   of another to arbitrate under a written agreement for arbitration may petition ... for an order

   directing that such arbitration proceed in the manner provided for in such agreement.” 9

   U.S.C. § 4. Indeed, the FAA “mandates that courts shall direct the parties to proceed to

   arbitration on issues as to which an Arbitration Clause has been signed.” Dean Witter

   Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (citing 9 U.S.C. §§ 3 and 4; emphasis

   added).

             Given the strong federal policy favoring arbitration, it is “the party resisting

   arbitration [which] bears the burden of proving that the claims at issue are unsuitable for

   arbitration.” Randolph, 531 U.S. at 91; see also Gilmer, 500 U.S. at 26 (finding that “the

   burden is on [the party opposing arbitration] to show that Congress intended to preclude a

   waiver of a judicial forum”). The party opposed to arbitration cannot meet its burden by

   making “generalized attacks on arbitration that rest on ‘suspicion of arbitration.’” Randolph,

   531 U.S. at 89-90.

             Under the FAA, accordingly, courts throughout the country, including the United

   States Supreme Court, routinely enforce Arbitration Provisions in consumer contracts like the

   one here. See, e.g., CompuCredit Corp. v Greenwood, 565 U.S. ___, 132 S. Ct. 665 (2012)

   (credit card agreement); Concepcion, 131 S. Ct. 1740 (cell phone services contract); Buckeye




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   Check Cashing, 546 U.S. 440 (consumer loan agreement); Randolph, 531 U.S. 79 (finance

   contract for purchase of mobile home); Green Tree Fin. Corp. v. Bazzle, 539 U.S. 444 (2003)

   (home improvement loan); Dobson, 513 U.S. 265 (termite protection contract); Cruz v.

   Cingular Wireless, LLC, 648 F.3d 1205 (11th Cir. 2011) (cell phone services contract); Scott

   v. EFN Invs., LLC, 312 F. App’x 254 (11th Cir. 2009) (consumer sales contract for the

   purchase of a vehicle).

             A trial court’s role in determining whether a motion to compel arbitration under the

   FAA should be granted is limited to a simple two-step inquiry:

             •      First, did the parties agree to arbitrate?

             •      Second, does the dispute fall within the scope of the arbitration provision?

   9 U.S.C. §§ 2, 4; see, e.g., Bazzle, 539 U.S. at 451-53. If the Court determines that the

   answer to both questions is “yes,” then the FAA requires the Court to enforce the Arbitration

   Provision and compel arbitration. The FAA “leaves no place for the exercise of discretion by

   a [trial] court, but instead mandates that [trial] courts shall direct the parties to proceed to

   arbitration . . . .” Byrd, 470 U.S. at 218 (emphasis in original).

             The Agreement unquestionably contains a written Arbitration Provision, pursuant to

   which the Parties expressed their clear intention to be bound by entering into the Agreement.

   Thus, the first prerequisite to enforcement of the Arbitration Provision is satisfied.

             The next question is whether the Parties' claims fall within the scope of the

   Arbitration Provision. In making this determination, it should be noted that any questions or

   doubts about the arbitrability of a particular dispute or issue must “be resolved in favor of

   arbitration, whether the problem at hand is the construction of the contract language itself or




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   an allegation of waiver, delay, or a like defense to arbitrability.” Moses H. Cone, 460 U.S. at

   24-25.        And where the Arbitration Provision is broad, as is the case here, there is a

   heightened presumption of arbitrability such that “[i]n the absence of any express provision

   excluding a particular grievance from arbitration, we think only the most forceful evidence of

   a purpose to exclude the claim from arbitration can prevail.” AT&T Techs., Inc. v. Commc’ns

   Workers, 475 U.S. 643, 650 (1986) (quoting United Steelworkers v. Warrior & Gulf

   Navigation Co., 363 U.S. 574, 584-85 (1960)). As set forth below, however, the most

   important factor in the assessment of the arbitrability of the Parties' claims is that the issue is

   one for the arbitrator to decide.

                      1.     Any Threshold Dispute Concerning Arbitrability, or the Validity
                             and Enforceability of the Arbitration Provision, Must be Decided
                             by the Arbitrator.
             The Parties delegated the gateway determinations of arbitrability of their claims and

   the validity and enforceability of the Agreement and Arbitration Provision to the arbitrator.

   The Parties agreed that any “disagreement” between them would be subject to arbitration.

   (Ex. A).

             Under current law, the delegation of these threshold determinations to the arbitrator

   bars this Court from considering the validity or enforceability of the Arbitration Provision or

   whether the Parties' claims are suitable for arbitration.

             In 2010, the U.S. Supreme Court reconfirmed the rule for determining who – between

   a court and an arbitrator – decides whether the claim must be arbitrated (i.e., arbitrability)

   and challenges to the validity and enforceability of an agreement to arbitrate. See Rent-A-

   Ctr., W., Inc. v. Jackson, 561 U.S. 63 (2010). Typically, whether parties have an enforceable




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   Arbitration Provision covering their dispute is an issue the court must decide. Granite Rock

   Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 296-97 (2010); Howsam v. Dean Witter

   Reynolds, 537 U.S. 79, 83-84 (2002). However, where parties enter into an Arbitration

   Provision containing a delegation provision which vests in an arbitrator the authority to

   determine of the validity and enforceability of the Arbitration Provision and issues of

   arbitrability, those threshold issues must be compelled to arbitration along with the

   underlying dispute. See Rent-A-Ctr., 561 U.S. at 67-71.

             In Rent-A-Center, the United States Supreme Court recognized the right of parties to

   “agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have

   agreed to arbitrate or whether their agreement covers a particular controversy.” Id. at 68-69

   (citing Howsam, 537 U.S. at 83-85); see also Bazzle, 539 U.S. at 452. To be enforceable,

   such delegations are subject to a heightened standard: the parties’ intent to arbitrate the issue

   of arbitrability must be demonstrated by “clear and unmistakable evidence.” First Options of

   Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995) (citation omitted). In the presence of a clear

   and unmistakable delegation clause, unless a party specifically and discretely challenges the

   delegation of authority to the arbitrator, any challenge to the validity or enforceability of the

   entire Arbitration Provision (much less any challenge to the validity of the overarching

   contractual agreement) is subject to arbitration and must be left for the arbitrator to resolve.

   Rent-A-Ctr., 561 U.S. at 70-72; see also ATP Flight Sch., LLC v. Sax, 44 So. 3d 248, 252-53

   (Fla. 4th DCA 2010). Accordingly, where a court concludes that the parties expressly

   delegated authority to determine the validity and enforceability of the Arbitration Provision

   to an arbitrator, the court must refer the matter to arbitration on the gateway issues relating to




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   enforceability and arbitrability along with the underlying dispute. See Rent-A-Ctr.,561 U.S.

   at 68-72.

             Therefore, because the Parties delegated the threshold determination of arbitrability to

   an arbitrator, this Court should refer any questions regarding the enforceability of the

   Arbitration Provision or its application to the Parties' claims to the arbitrator.

             C. These Proceedings Must be Stayed Pending Resolution of the Parties' Claims
                in Arbitration.

             Once it is determined that the claims asserted in a pending court action are subject to

   an Arbitration Provision, the FAA mandates that the action on the claims be stayed pending

   arbitration of the claims. See 9 U.S.C. § 3. Section 3 provides that:

             If any suit or proceeding be brought in any of the courts of the United States
             upon any issue referable to arbitration under an agreement in writing for
             such arbitration, the court in which such suit is pending, upon being satisfied
             that the issue involved in such suit or proceeding is referable to arbitration
             under such an agreement, shall on application of one of the parties stay the
             trial of the action until such arbitration has been had in accordance with the
             terms of the agreement.

   9 U.S.C. § 3. As the United States Supreme Court has made clear, “state courts, [and]

   federal courts, are obliged to grant stays of litigation under § 3 of the [FAA].” Moses H.

   Cone, 460 U.S. at 26. Because all of the claims at issue in this litigation are subject to

   arbitration, this litigation should be stayed while the claims are arbitrated. See, e.g., Kyer v.

   Teen Challenge of Fl., Inc., Case No. 8:07-cv-1824-T-23-TBM, 2008 WL 1849024, at *2

   (M.D. Fla. April 24, 2008) (granting motion to compel arbitration and staying the

   proceeding); Flach v. Clarendon Nat’l Ins. Co., Case No. 804-CV-49T-17MSS, 2004 WL

   5042294 (M.D. Fla. April 8, 2004) (granting Defendant's Motion to Stay Litigation and to

   Compel Arbitration).



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                                           CONCLUSION

             The Agreement requires the arbitration of disputes between the Parties. The Federal

   Arbitration Act therefore requires this Court to stay the proceedings relating to the Parties'

   claims, including all discovery, and refer this matter to arbitration.

             WHEREFORE, the Parties respectfully request that this Court enter the Agreed Order

   attached hereto as Exhibit "B," which refers this matter to arbitration and stays the instant

   litigation pending the outcome of the arbitration.

             Respectfully submitted this 2nd day of April, 2019.



   s/ Octavio Gomez                                  /s/ Gennifer L. Bridges
   Octavio Gomez                                     R. Frank Springfield
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                                                     SANTANDER CONSUMER USA, INC.




                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 2nd day of April, 2019, I filed a true and correct
   copy of the foregoing via the CM/ECF service, which will provide electronic notification to
   the following counsel of record:




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                               EXHIBIT A
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                   EXHIBIT B




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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

   CORINE MANUEL,

             Plaintiff,

   v.                                                      CASE NO.: 6:19-cv-346-RBD-LRH

   SANTANDER CONSUMER USA INC.,
   d/b/a CHRYSLER CAPITAL LLC,

             Defendant.
                                                     /

                  AGREED ORDER STAYING CASE PENDING ARBITRATION

             Pursuant to agreement of the Plaintiff, Corine Manuel, and Defendant, Santander

   Consumer USA Inc. d/b/a Chrysler Capital LLC (collectively, “Parties”), it is hereby

   ORDERED and ADJUDGED that:

             1.      The Parties will advance their claims against one another as provided for in

   the governing Arbitration Agreement.

             2.      This case is stayed until the resolution of the arbitration.

             DONE and ORDERED this                   day of ______________, 2019.



                                                     HON. LESLIE R. HOFFMAN
                                                     MAGISTRATE JUDGE
   Copies to:
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   AGREED AS TO FORM AND CONTENT:

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